               Case 21-02599-dd                         Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                                               Desc Main
                                                                          Document     Page 1 of 53
 Fill in this information to identify your case:

 Debtor 1                   Edward J. Bucia, Jr.
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Christine M. Bucia
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF SOUTH CAROLINA

 Case number           21-02599
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             345,600.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             104,554.79

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             450,154.79

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             208,379.01

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $              50,646.23

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              28,104.03


                                                                                                                                     Your total liabilities $               287,129.27


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                6,963.40

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                4,865.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
            Case 21-02599-dd                        Doc 18           Filed 10/28/21 Entered 10/28/21 12:18:32                          Desc Main
                                                                     Document     Page 2 of 53
 Debtor 1      Edward J. Bucia, Jr.
 Debtor 2      Christine M. Bucia                                                         Case number (if known) 21-02599

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $            8,769.85


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            50,646.23

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                 0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $             50,646.23




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                       page 2 of 2
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               Case 21-02599-dd                              Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                                     Desc Main
                                                                               Document     Page 3 of 53
 Fill in this information to identify your case and this filing:

 Debtor 1                    Edward J. Bucia, Jr.
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    Christine M. Bucia
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      DISTRICT OF SOUTH CAROLINA

 Case number            21-02599                                                                                                                                 Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        701 Bent Hickory Road                                                          Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the       Current value of the
        Charleston                        SC        29414-0000                         Land                                       entire property?           portion you own?
        City                              State              ZIP Code                  Investment property                               $345,600.00                $345,600.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Fee simple
        Charleston                                                                     Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:

                                                                                DEBTORS RESIDENCE-701 BENT HICKORY ROAD, CHARLESTON SC
                                                                                29414, CHARLESTON COUNTY, (4) BEDROOM HOUSE, TMS#
                                                                                (3050300123), TAX APPRAISAL VALUE ($345,600), SEE ATTACHED TAX
                                                                                APPRAISAL

                                                                                DEBTORS ESTIMATE VALUE AT ($345,600)


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $345,600.00


 Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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              Case 21-02599-dd                      Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                                       Desc Main
                                                                      Document     Page 4 of 53
 Debtor 1        Edward J. Bucia, Jr.
 Debtor 2        Christine M. Bucia                                                                                 Case number (if known)       21-02599

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       FORD                                      Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      MUSTANG                                         Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2005                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                 183000                 Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         2005 FORD MUSTANG: VIN#
         (1ZVHT82AA45SZ05677), (2)                                   Check if this is community property                                $5,815.00                  $5,815.00
         DOOR, (8) CYLINDER, (183,000)                               (see instructions)

         MILES, NADA VALUE ($4,550)


  3.2    Make:       CHEVROLET                                 Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      TAHOE                                           Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2004                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                 230000                 Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         2004 CHEVROLET TAHOE: VIN#
         (1GNEK13Z44R302559), (4)                                    Check if this is community property                                $3,125.00                  $3,125.00
         DOOR, (6) CYLINDER, (230,000)                               (see instructions)

         MILES, NADA VALUE ($3,125)


  3.3    Make:       VOLKSWAGON                                Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      JETTA                                           Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2014                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                 124000                 Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         2014 VOLKSWAGON JETTA:
         VIN# (3VW2K7AJ3EM232564),                                   Check if this is community property                                $6,375.00                  $6,375.00
         (4) DOOR, (6) CYLINDER,                                     (see instructions)

         (124,000) MILES, NADA VALUE
         ($6,375)


4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $15,315.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....




Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
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            Case 21-02599-dd                        Doc 18           Filed 10/28/21 Entered 10/28/21 12:18:32                     Desc Main
                                                                     Document     Page 5 of 53
 Debtor 1       Edward J. Bucia, Jr.
 Debtor 2       Christine M. Bucia                                                                  Case number (if known)     21-02599


                                    HOUSEHOLD GOODS: COUCH, TABLES, CHAIRS, DINING ROOM
                                    SET, LOVESEAT, BEDROOM FURNITURE; MICROWAVE,
                                    REFRIGERATOR, STOVE, WASHER, DRYER, DISHWASHER                                                               $1,200.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    ELECTRONICS: TVS, DVD PLAYER, COMPUTER, PRINTER, CELL
                                    PHONES, MISC. SMALL ELECTRONICS                                                                                $800.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
        Yes. Describe.....

                                    BOOKS; PICTURES; MISC. HOME DECORATIONS                                                                        $100.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    GOLF CLUBS                                                                                                     $200.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    CLOTHING                                                                                                       $250.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    WEDDING BANDS AND WEDDING RING; TWO WATCHES; MISC.
                                    COSTUME JEWELRY                                                                                                $500.00


                                    WEDDING BANDS, WEDDING RING, TWO WATCHES, MISC.
                                    COSTUME JEWELRY                                                                                                $600.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No

Official Form 106A/B                                                   Schedule A/B: Property                                                          page 3
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              Case 21-02599-dd                                  Doc 18               Filed 10/28/21 Entered 10/28/21 12:18:32                            Desc Main
                                                                                     Document     Page 6 of 53
 Debtor 1         Edward J. Bucia, Jr.
 Debtor 2         Christine M. Bucia                                                                                          Case number (if known)   21-02599

        Yes. Describe.....

                                            ANIMALS: (2) CATS, MIXED BREED DOG                                                                                             $10.00


14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                            $3,660.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                             Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.                                               TD BANK: CHECKING ACCOUNT# (7015)                                    $1,462.79


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................        Institution or issuer name:


                                                        CRYPTO CURRENCY: SHIBA INU (SHIB) CURRENT VALUE:
                                                        ($2,400.00)                                                                                                    $2,400.00


19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                             % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                                                  Institution name:




Official Form 106A/B                                                                       Schedule A/B: Property                                                            page 4
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             Case 21-02599-dd                        Doc 18          Filed 10/28/21 Entered 10/28/21 12:18:32                               Desc Main
                                                                     Document     Page 7 of 53
 Debtor 1         Edward J. Bucia, Jr.
 Debtor 2         Christine M. Bucia                                                                          Case number (if known)      21-02599


                                                                            RETIREMENT PROGRAM: ERISA QUALIFIED
                                                                            VANGUARD 401(K) RETIREMENT PROGRAM,
                                                                            VALUE OF ACCOUNT($27,350.00)                                                $27,350.00


                                                                            PENSION PROGRAM: METLIFE PENSION
                                                                            PROGRAM, VALUE OF
                                                                            ACCOUNT($36,623.00)                                                         $36,623.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.

28. Tax refunds owed to you
      No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



                                                         2020 FEDERAL TAX REFUND: DEBTORS
                                                             ARE OWED ($11,927) FOR 2020 JOINT
                                                             FEDERAL TAX REFUND                                                                         $11,927.00


                                                         2020 STATE TAX REFUND: DEBTORS
                                                             ARE OWED ($4,100.00) FOR 2020
                                                             JOINT STATE TAX REFUND                                                                       $4,100.00


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       No
       Yes. Give specific information......
Official Form 106A/B                                                   Schedule A/B: Property                                                                   page 5
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             Case 21-02599-dd                           Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                                               Desc Main
                                                                          Document     Page 8 of 53
 Debtor 1        Edward J. Bucia, Jr.
 Debtor 2        Christine M. Bucia                                                                                               Case number (if known)       21-02599



30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                                Surrender or refund
                                                                                                                                                                  value:

                                             FEDEX FREIGHT GROUP LIFE
                                             INSURANCE: TERM LIFE INSURANCE
                                             POLICY, FACE VALUE OF POLICY
                                             ($150,000), CASH SURRENDER VALUE
                                             OF POLICY ($0.00)                                                                                                                       $0.00


                                             FEDEX FREIGHT GROUP LIFE
                                             INSURANCE: TERM LIFE INSURANCE
                                             POLICY, FACE VALUE OF POLICY
                                             ($20,000), CASH SURRENDER VALUE
                                             OF POLICY ($0.00)                                                                                                                       $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $83,862.79


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.




Official Form 106A/B                                                           Schedule A/B: Property                                                                                page 6
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              Case 21-02599-dd                             Doc 18             Filed 10/28/21 Entered 10/28/21 12:18:32                                               Desc Main
                                                                              Document     Page 9 of 53
 Debtor 1         Edward J. Bucia, Jr.
 Debtor 2         Christine M. Bucia                                                                                                    Case number (if known)   21-02599

 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
        Yes. Give specific information.........

                                               SOCIAL SECURITY: DEBTOR RECIEVES SOCIAL SECURITY IN THE
                                               AMOUNT OF ($1,717)/MONTH                                                                                                           $1,717.00



 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                     $1,717.00

 Part 8:         List the Totals of Each Part of this Form


 55. Part 1: Total real estate, line 2 ......................................................................................................................                 $345,600.00
 56. Part 2: Total vehicles, line 5                                                                           $15,315.00
 57. Part 3: Total personal and household items, line 15                                                       $3,660.00
 58. Part 4: Total financial assets, line 36                                                                  $83,862.79
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +            $1,717.00

 62. Total personal property. Add lines 56 through 61...                                                    $104,554.79               Copy personal property total            $104,554.79

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $450,154.79




Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 7
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Case 21-02599-dd   Doc 18    Filed 10/28/21 Entered 10/28/21 12:18:32   Desc Main
                            Document      Page 10 of 53
Case 21-02599-dd   Doc 18    Filed 10/28/21 Entered 10/28/21 12:18:32   Desc Main
                            Document      Page 11 of 53
               Case 21-02599-dd                     Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                            Desc Main
                                                                     Document      Page 12 of 53
 Fill in this information to identify your case:

 Debtor 1                Edward J. Bucia, Jr.
                         First Name                         Middle Name                 Last Name

 Debtor 2                Christine M. Bucia
 (Spouse if, filing)     First Name                         Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number           21-02599
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      DEBTORS RESIDENCE-701 BENT                                     $345,600.00                              $126,475.00      S.C. Code Ann. §
      HICKORY ROAD, CHARLESTON SC                                                                                              15-41-30(A)(1)
      29414, CHARLESTON COUNTY, (4)                                                        100% of fair market value, up to
      BEDROOM HOUSE, TMS#                                                                  any applicable statutory limit
      (3050300123), TAX APPRAISAL
      VALUE ($345,600), SEE ATTACHED
      TAX APPRAISAL

      DEBTORS ESTIMATE VALUE AT
      ($345,600)
      Line from Schedule A/B: 1.1

      2005 FORD MUSTANG: VIN#                                          $5,815.00                                 $3,371.98     S.C. Code Ann. §
      (1ZVHT82AA45SZ05677), (2) DOOR,                                                                                          15-41-30(A)(2)
      (8) CYLINDER, (183,000) MILES,                                                       100% of fair market value, up to
      NADA VALUE ($4,550)                                                                  any applicable statutory limit
      Line from Schedule A/B: 3.1

      2004 CHEVROLET TAHOE: VIN#                                       $3,125.00                                 $3,125.00     S.C. Code Ann. §
      (1GNEK13Z44R302559), (4) DOOR, (6)                                                                                       15-41-30(A)(7) unused portion
      CYLINDER, (230,000) MILES, NADA                                                      100% of fair market value, up to    of exemptions listed in
      VALUE ($3,125)                                                                       any applicable statutory limit      §15-41-30(A)(3)
      Line from Schedule A/B: 3.2




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 3
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
            Case 21-02599-dd                        Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                               Desc Main
                                                                     Document      Page 13 of 53
 Debtor 1    Edward J. Bucia, Jr.
 Debtor 2    Christine M. Bucia                                                                          Case number (if known)     21-02599
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     2014 VOLKSWAGON JETTA: VIN#                                       $6,375.00                                 $6,375.00        S.C. Code Ann. §
     (3VW2K7AJ3EM232564), (4) DOOR,                                                                                               15-41-30(A)(2)
     (6) CYLINDER, (124,000) MILES,                                                        100% of fair market value, up to
     NADA VALUE ($6,375)                                                                   any applicable statutory limit
     Line from Schedule A/B: 3.3

     HOUSEHOLD GOODS: COUCH,                                           $1,200.00                                 $1,200.00        S.C. Code Ann. §
     TABLES, CHAIRS, DINING ROOM                                                                                                  15-41-30(A)(3)
     SET, LOVESEAT, BEDROOM                                                                100% of fair market value, up to
     FURNITURE; MICROWAVE,                                                                 any applicable statutory limit
     REFRIGERATOR, STOVE, WASHER,
     DRYER, DISHWASHER
     Line from Schedule A/B: 6.1

     ELECTRONICS: TVS, DVD PLAYER,                                       $800.00                                   $800.00        S.C. Code Ann. §
     COMPUTER, PRINTER, CELL                                                                                                      15-41-30(A)(3)
     PHONES, MISC. SMALL                                                                   100% of fair market value, up to
     ELECTRONICS                                                                           any applicable statutory limit
     Line from Schedule A/B: 7.1

     BOOKS; PICTURES; MISC. HOME                                         $100.00                                   $100.00        S.C. Code Ann. §
     DECORATIONS                                                                                                                  15-41-30(A)(3)
     Line from Schedule A/B: 8.1                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     GOLF CLUBS                                                          $200.00                                   $200.00        S.C. Code Ann. §
     Line from Schedule A/B: 9.1                                                                                                  15-41-30(A)(3)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     CLOTHING                                                            $250.00                                   $250.00        S.C. Code Ann. §
     Line from Schedule A/B: 11.1                                                                                                 15-41-30(A)(3)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     WEDDING BANDS AND WEDDING                                           $500.00                                   $500.00        S.C. Code Ann. §
     RING; TWO WATCHES; MISC.                                                                                                     15-41-30(A)(4)
     COSTUME JEWELRY                                                                       100% of fair market value, up to
     Line from Schedule A/B: 12.1                                                          any applicable statutory limit

     WEDDING BANDS, WEDDING RING,                                        $600.00                                   $600.00        S.C. Code Ann. §
     TWO WATCHES, MISC. COSTUME                                                                                                   15-41-30(A)(4)
     JEWELRY                                                                               100% of fair market value, up to
     Line from Schedule A/B: 12.2                                                          any applicable statutory limit

     ANIMALS: (2) CATS, MIXED BREED                                       $10.00                                    $10.00        S.C. Code Ann. §
     DOG                                                                                                                          15-41-30(A)(3)
     Line from Schedule A/B: 13.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     TD BANK: CHECKING ACCOUNT#                                        $1,462.79                                 $1,462.79        S.C. Code Ann. §
     (7015)                                                                                                                       15-41-30(A)(7) unused portion
     Line from Schedule A/B: 17.1                                                          100% of fair market value, up to       of exemptions listed in
                                                                                           any applicable statutory limit         §15-41-30(A)(3)




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 3
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
            Case 21-02599-dd                        Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                               Desc Main
                                                                     Document      Page 14 of 53
 Debtor 1    Edward J. Bucia, Jr.
 Debtor 2    Christine M. Bucia                                                                          Case number (if known)     21-02599
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     CRYPTO CURRENCY: SHIBA INU                                        $2,400.00                                 $2,400.00        S.C. Code Ann. §
     (SHIB) CURRENT VALUE: ($2,400.00)                                                                                            15-41-30(A)(7) unused portion
     Line from Schedule A/B: 18.1                                                          100% of fair market value, up to       of exemptions listed in
                                                                                           any applicable statutory limit         §15-41-30(A)(6)

     RETIREMENT PROGRAM: ERISA                                        $27,350.00                               $27,350.00         S.C. Code Ann. §
     QUALIFIED VANGUARD 401(K)                                                                                                    15-41-30(A)(14)
     RETIREMENT PROGRAM, VALUE                                                             100% of fair market value, up to
     OF ACCOUNT($27,350.00)                                                                any applicable statutory limit
     Line from Schedule A/B: 21.1

     PENSION PROGRAM: METLIFE                                         $36,623.00                               $36,623.00         S.C. Code Ann. § 9-1-1680
     PENSION PROGRAM, VALUE OF
     ACCOUNT($36,623.00)                                                                   100% of fair market value, up to
     Line from Schedule A/B: 21.2                                                          any applicable statutory limit

     2020 FEDERAL TAX REFUND:                                         $11,927.00                                 $5,662.21        S.C. Code Ann. §
     DEBTORS ARE OWED ($11,927) FOR                                                                                               15-41-30(A)(7) unused portion
     2020 JOINT FEDERAL TAX REFUND                                                         100% of fair market value, up to       of exemptions listed in
     Line from Schedule A/B: 28.1                                                          any applicable statutory limit         §15-41-30(A)(5)

     FEDEX FREIGHT GROUP LIFE                                               $0.00                                     $0.00       S.C. Code Ann. § 38-63-40(C)
     INSURANCE: TERM LIFE
     INSURANCE POLICY, FACE VALUE                                                          100% of fair market value, up to
     OF POLICY ($150,000), CASH                                                            any applicable statutory limit
     SURRENDER VALUE OF POLICY
     ($0.00)
     Line from Schedule A/B: 31.1

     FEDEX FREIGHT GROUP LIFE                                               $0.00                                     $0.00       S.C. Code Ann. § 38-63-40(C)
     INSURANCE: TERM LIFE
     INSURANCE POLICY, FACE VALUE                                                          100% of fair market value, up to
     OF POLICY ($20,000), CASH                                                             any applicable statutory limit
     SURRENDER VALUE OF POLICY
     ($0.00)
     Line from Schedule A/B: 31.2

     SOCIAL SECURITY: DEBTOR                                           $1,717.00                                      100%        S.C. Code Ann. §
     RECIEVES SOCIAL SECURITY IN                                                                                                  15-41-30(A)(11)(a)
     THE AMOUNT OF ($1,717)/MONTH                                                          100% of fair market value, up to
     Line from Schedule A/B: 53.1                                                          any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 3
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
               Case 21-02599-dd                     Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                                   Desc Main
                                                                     Document      Page 15 of 53
 Fill in this information to identify your case:

 Debtor 1                   Edward J. Bucia, Jr.
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Christine M. Bucia
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number           21-02599
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     FERRARO FOODS                            Describe the property that secures the claim:                   $3,740.43             $345,600.00                     $0.00
         Creditor's Name                          DEBTORS RESIDENCE-701 BENT
                                                  HICKORY ROAD, CHARLESTON SC
                                                  29414, CHARLESTON COUNTY, (4)
                                                  BEDROOM HOUSE, TMS#
                                                  (3050300123), TAX APPRAISAL
                                                  VALUE ($345,600), SEE ATTACHED
                                                  TAX APPRAISAL

         404 HENDERSONVILLE                       DEBTORS ESTIMATE VALUE AT
         HWAY                                     ($345,600)
                                                  As of the date you file, the claim is: Check all that
         WALTERBORO, SC                           apply.
         29499                                        Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred          5/2017                    Last 4 digits of account number        3559




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 4
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
              Case 21-02599-dd                       Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                                   Desc Main
                                                                      Document      Page 16 of 53
 Debtor 1 Edward J. Bucia, Jr.                                                                                Case number (if known)   21-02599
               First Name                  Middle Name                      Last Name
 Debtor 2 Christine M. Bucia
               First Name                  Middle Name                      Last Name


 2.2     FIRST FEDERAL                              Describe the property that secures the claim:                      $2,471.26        $345,600.00              $0.00
         Creditor's Name                            DEBTORS RESIDENCE-701 BENT
                                                    HICKORY ROAD, CHARLESTON SC
                                                    29414, CHARLESTON COUNTY, (4)
                                                    BEDROOM HOUSE, TMS#
                                                    (3050300123), TAX APPRAISAL
                                                    VALUE ($345,600), SEE ATTACHED
                                                    TAX APPRAISAL

                                                    DEBTORS ESTIMATE VALUE AT
                                                    ($345,600)
                                                    As of the date you file, the claim is: Check all that
         PO BOX 118068                              apply.
         Charleston, SC 29423                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          2013                        Last 4 digits of account number         3359

         MT ROYAL &
 2.3     HARRINGTON PLACE
         HOA                                        Describe the property that secures the claim:                      $3,155.34        $345,600.00              $0.00
         Creditor's Name                            DEBTORS RESIDENCE-701 BENT
                                                    HICKORY ROAD, CHARLESTON SC
                                                    29414, CHARLESTON COUNTY, (4)
                                                    BEDROOM HOUSE, TMS#
                                                    (3050300123), TAX APPRAISAL
                                                    VALUE ($345,600), SEE ATTACHED
                                                    TAX APPRAISAL

                                                    DEBTORS ESTIMATE VALUE AT
         38 ROONEY STREET,                          ($345,600)
                                                    As of the date you file, the claim is: Check all that
         STE 103                                    apply.
         Charleston, SC 29403                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Homeowner's association fees
       community debt

 Date debt was incurred          1/18                        Last 4 digits of account number         5201




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 4
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
              Case 21-02599-dd                       Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                                   Desc Main
                                                                      Document      Page 17 of 53
 Debtor 1 Edward J. Bucia, Jr.                                                                                Case number (if known)   21-02599
               First Name                  Middle Name                      Last Name
 Debtor 2 Christine M. Bucia
               First Name                  Middle Name                      Last Name


         SC DEPARTMENT OF
 2.4                                                Describe the property that secures the claim:                    $25,393.96         $345,600.00              $0.00
         REVENUE
         Creditor's Name                            DEBTORS RESIDENCE-701 BENT
                                                    HICKORY ROAD, CHARLESTON SC
                                                    29414, CHARLESTON COUNTY, (4)
                                                    BEDROOM HOUSE, TMS#
                                                    (3050300123), TAX APPRAISAL
                                                    VALUE ($345,600), SEE ATTACHED
                                                    TAX APPRAISAL
         OFFICE OF GENERAL
         COUNSEL                                    DEBTORS ESTIMATE VALUE AT
         300A OUTLET POINTE                         ($345,600)
                                                    As of the date you file, the claim is: Check all that
         BLVD.                                      apply.
         Columbia, SC 29210                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Tax lien
       community debt

 Date debt was incurred                                      Last 4 digits of account number         3559

 2.5     SOUTH STATE BANK                           Describe the property that secures the claim:                   $171,175.00         $345,600.00              $0.00
         Creditor's Name                            DEBTORS RESIDENCE-701 BENT
                                                    HICKORY ROAD, CHARLESTON SC
                                                    29414, CHARLESTON COUNTY, (4)
                                                    BEDROOM HOUSE, TMS#
                                                    (3050300123), TAX APPRAISAL
                                                    VALUE ($345,600), SEE ATTACHED
                                                    TAX APPRAISAL

                                                    DEBTORS ESTIMATE VALUE AT
                                                    ($345,600)
                                                    As of the date you file, the claim is: Check all that
         P.O BOX 118068                             apply.
         Charleston, SC 29423                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Mortgage
       community debt

 Date debt was incurred          8/03                        Last 4 digits of account number         3309




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 3 of 4
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
              Case 21-02599-dd                       Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                                             Desc Main
                                                                      Document      Page 18 of 53
 Debtor 1 Edward J. Bucia, Jr.                                                                                Case number (if known)        21-02599
               First Name                  Middle Name                      Last Name
 Debtor 2 Christine M. Bucia
               First Name                  Middle Name                      Last Name


 2.6     TITLEMAX                                   Describe the property that secures the claim:                      $2,443.02                  $5,815.00                 $0.00
         Creditor's Name                            2005 FORD MUSTANG: VIN#
                                                    (1ZVHT82AA45SZ05677), (2) DOOR,
                                                    (8) CYLINDER, (183,000) MILES,
         15 BULL STREET, STE                        NADA VALUE ($4,550)
                                                    As of the date you file, the claim is: Check all that
         200                                        apply.
         Savannah, GA 31401                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
       Debtor 1 only                                     An agreement you made (such as mortgage or secured
       Debtor 2 only                                      car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
       At least one of the debtors and another           Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Auto Loan
       community debt

 Date debt was incurred          2021                        Last 4 digits of account number         5201


   Add the dollar value of your entries in Column A on this page. Write that number here:                                    $208,379.01
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                   $208,379.01

 Part 2:      List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

 [ ]
            Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?   2.5
            CHARLESTON COUNTY CLERK OF COURT
            100 BROAD STREET                                                                          Last 4 digits of account number
            Charleston, SC 29401

 [ ]
            Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?   2.5
            CLAWSON AND STAUBES
            126 SEVEN FARMS DRIVE                                                                     Last 4 digits of account number
            SUITE 200
            Charleston, SC 29492




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                    page 4 of 4
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                Best Case Bankruptcy
               Case 21-02599-dd                     Doc 18             Filed 10/28/21 Entered 10/28/21 12:18:32                                      Desc Main
                                                                      Document      Page 19 of 53
 Fill in this information to identify your case:

 Debtor 1                     Edward J. Bucia, Jr.
                              First Name                    Middle Name                        Last Name

 Debtor 2                     Christine M. Bucia
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                DISTRICT OF SOUTH CAROLINA

 Case number           21-02599
 (if known)                                                                                                                                           Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim       Priority             Nonpriority
                                                                                                                                          amount               amount
 2.1          IRS                                                    Last 4 digits of account number       7078               $2,802.26         $2,802.26                   $0.00
              Priority Creditor's Name
              PO BOX 7346                                            When was the debt incurred?           2011
              Philadelphia, PA 19101
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        Federal Taxes




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 1 of 8
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              Case 21-02599-dd                      Doc 18             Filed 10/28/21 Entered 10/28/21 12:18:32                                           Desc Main
                                                                      Document      Page 20 of 53
 Debtor 1 Edward J. Bucia, Jr.
 Debtor 2 Christine M. Bucia                                                                               Case number (if known)            21-02599

 2.2        SC DEPARTMENT OF REVENUE                                 Last 4 digits of account number                        $47,843.97             $47,843.97                    $0.00
            Priority Creditor's Name
            OFFICE OF GENERAL COUNSEL                                When was the debt incurred?
            300A OUTLET POINTE BLVD.
            Columbia, SC 29210
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                            Priority taxes


 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        AARGON AGENCY                                              Last 4 digits of account number                                                                          $0.00
            Nonpriority Creditor's Name
            8668 SPRING MOUNTIAN ROAD                                  When was the debt incurred?
            LAS VEGAS, NV 89117
            Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                 Debtor 1 only                                             Contingent
                 Debtor 2 only                                             Unliquidated
                 Debtor 1 and Debtor 2 only                                Disputed
                 At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                     Student loans
            debt                                                          Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims

                 No                                                        Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                       Other. Specify    Notice Only




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 2 of 8
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            Case 21-02599-dd                        Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                                      Desc Main
                                                                     Document      Page 21 of 53
 Debtor 1 Edward J. Bucia, Jr.
 Debtor 2 Christine M. Bucia                                                                             Case number (if known)         21-02599

 4.2      AMERICAN INFOSOURCE LP                                     Last 4 digits of account number       000                                                 $486.59
          Nonpriority Creditor's Name
          PO BOX 248838                                              When was the debt incurred?
          Oklahoma City, OK 73124
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collections


 4.3      CAVALRY SPV I, LLC                                         Last 4 digits of account number       4520                                                $156.66
          Nonpriority Creditor's Name
          PO BOX 27288                                               When was the debt incurred?
          Tempe, AZ 85282
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collections


 4.4      CHARLESTON COUNTY EMS                                      Last 4 digits of account number       6747                                                $729.05
          Nonpriority Creditor's Name
          4045 BRIDGEVIEW DRIVE B309Q                                When was the debt incurred?           3/2017
          North Charleston, SC 29405
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Bills




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 3 of 8
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            Case 21-02599-dd                        Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                                      Desc Main
                                                                     Document      Page 22 of 53
 Debtor 1 Edward J. Bucia, Jr.
 Debtor 2 Christine M. Bucia                                                                             Case number (if known)         21-02599

          CHARLESTON COUNTY
 4.5      TREASURER                                                  Last 4 digits of account number       3559                                                    $0.00
          Nonpriority Creditor's Name
          PO BOX 878                                                 When was the debt incurred?
          Charleston, SC 29402
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only


 4.6      DUKE HEALTH                                                Last 4 digits of account number       3559                                                $599.00
          Nonpriority Creditor's Name
          5213 SOUTH ALSTON AVE                                      When was the debt incurred?           12/2019
          Durham, NC 27713
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Bills


 4.7      DUKE HEALTH                                                Last 4 digits of account number       3559                                                  $35.55
          Nonpriority Creditor's Name
          5213 SOUTH ALSTON AVE                                      When was the debt incurred?           6/2020
          Durham, NC 27713
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Bills




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 4 of 8
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            Case 21-02599-dd                        Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                                      Desc Main
                                                                     Document      Page 23 of 53
 Debtor 1 Edward J. Bucia, Jr.
 Debtor 2 Christine M. Bucia                                                                             Case number (if known)         21-02599

 4.8      DUKE HEALTH                                                Last 4 digits of account number       3559                                              $6,720.19
          Nonpriority Creditor's Name
          5213 SOUTH ALSTON AVE                                      When was the debt incurred?           10/2018
          Durham, NC 27713
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Bills


 4.9      IRS                                                        Last 4 digits of account number       7078                                              $9,276.72
          Nonpriority Creditor's Name
          PO BOX 7346                                                When was the debt incurred?           2009
          Philadelphia, PA 19101
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Unsecured Federal Tax


 4.1
 0        LVNV FUNDING LLC                                           Last 4 digits of account number       7423                                              $1,616.89
          Nonpriority Creditor's Name
          PO BOX 10587                                               When was the debt incurred?
          Greenville, SC 29603
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collections




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 5 of 8
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            Case 21-02599-dd                        Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                                      Desc Main
                                                                     Document      Page 24 of 53
 Debtor 1 Edward J. Bucia, Jr.
 Debtor 2 Christine M. Bucia                                                                             Case number (if known)         21-02599

 4.1       MEDICAL UNIVERSITY OF SOUTH
 1         CAROLINA                                                  Last 4 digits of account number       3559                                                  $92.10
           Nonpriority Creditor's Name
           MUSC HEALTH PO BOX 931736                                 When was the debt incurred?           8/2019
           Atlanta, GA 31193
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Bills


 4.1
 2         SC DEPARTMENT OF REVENUE                                  Last 4 digits of account number       3559                                              $8,071.28
           Nonpriority Creditor's Name
           OFFICE OF GENERAL COUNSEL                                 When was the debt incurred?
           300A OUTLET POINTE BLVD.
           Columbia, SC 29210
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Unsecured State Taxes


 4.1
 3         SOUTH STATE BANK                                          Last 4 digits of account number       3371                                                $320.00
           Nonpriority Creditor's Name
           1995 MAGWOOD DRIVE                                        When was the debt incurred?           1/2019
           Charleston, SC 29414
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collections

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 6 of 8
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            Case 21-02599-dd                        Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                                        Desc Main
                                                                     Document      Page 25 of 53
 Debtor 1 Edward J. Bucia, Jr.
 Debtor 2 Christine M. Bucia                                                                             Case number (if known)          21-02599

   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 ATTORNEY GENERAL OF UNITED                                    Line 2.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 STATES                                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 950 PENNSYLVANIA AVENUE, NW
 Washington, DC 20530
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 ATTORNEY GENERAL OF UNITED                                    Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 STATES                                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 950 PENNSYLVANIA AVENUE, NW
 Washington, DC 20530
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 IRS                                                           Line 2.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 1835 ASSEMBLY STREET                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 MDP 39
 Columbia, SC 29201
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 IRS                                                           Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 1835 ASSEMBLY STREET                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 MDP 39
 Columbia, SC 29201
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 US ATTORNEY GENERAL                                           Line 2.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 ATTN DOUG BARNETT                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 1441 MAIN ST
 SUITE 500
 Columbia, SC 29201
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 US ATTORNEY GENERAL                                           Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 ATTN DOUG BARNETT                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 1441 MAIN ST
 SUITE 500
 Columbia, SC 29201
                                                               Last 4 digits of account number


 Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                          6b.       $                    50,646.23
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                         0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                    50,646.23

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 7 of 8
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            Case 21-02599-dd                        Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                           Desc Main
                                                                     Document      Page 26 of 53
 Debtor 1 Edward J. Bucia, Jr.
 Debtor 2 Christine M. Bucia                                                                         Case number (if known)   21-02599

                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount     6i.
                              here.                                                                             $              28,104.03

                        6j.   Total Nonpriority. Add lines 6f through 6i.                              6j.      $              28,104.03




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 8 of 8
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                Case 21-02599-dd                     Doc 18           Filed 10/28/21 Entered 10/28/21 12:18:32                          Desc Main
                                                                     Document      Page 27 of 53
 Fill in this information to identify your case:

 Debtor 1                  Edward J. Bucia, Jr.
                           First Name                         Middle Name              Last Name

 Debtor 2                  Christine M. Bucia
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               DISTRICT OF SOUTH CAROLINA

 Case number           21-02599
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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               Case 21-02599-dd                        Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32              Desc Main
                                                                        Document      Page 28 of 53
 Fill in this information to identify your case:

 Debtor 1                   Edward J. Bucia, Jr.
                            First Name                            Middle Name        Last Name

 Debtor 2                   Christine M. Bucia
 (Spouse if, filing)        First Name                            Middle Name        Last Name


 United States Bankruptcy Court for the:                 DISTRICT OF SOUTH CAROLINA

 Case number           21-02599
 (if known)                                                                                                                    Check if this is an
                                                                                                                               amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                     12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                       Check all schedules that apply:

    3.1                                                                                                Schedule D, line
                Name
                                                                                                       Schedule E/F, line
                                                                                                       Schedule G, line
                Number             Street
                City                                      State                       ZIP Code




    3.2                                                                                                Schedule D, line
                Name
                                                                                                       Schedule E/F, line
                                                                                                       Schedule G, line
                Number             Street
                City                                      State                       ZIP Code




Official Form 106H                                                               Schedule H: Your Codebtors                                 Page 1 of 1
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              Case 21-02599-dd                Doc 18       Filed 10/28/21 Entered 10/28/21 12:18:32                                 Desc Main
                                                          Document      Page 29 of 53


Fill in this information to identify your case:

Debtor 1                      Edward J. Bucia, Jr.

Debtor 2                      Christine M. Bucia
(Spouse, if filing)


United States Bankruptcy Court for the:       DISTRICT OF SOUTH CAROLINA

Case number               21-02599                                                                      Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                Not employed
       employers.
                                             Occupation            DRIVER                                      SOCIAL SECURITY
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       FEDEX                                       SOCIAL SECURITY

       Occupation may include student        Employer's address
                                                                   1790 KIRBY PKWY, STE 300
       or homemaker, if it applies.
                                                                   Germantown, TN 38138

                                             How long employed there?         15 YEARS

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $         8,759.55        $            0.00

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$           0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      8,759.55               $      0.00




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
            Case 21-02599-dd              Doc 18       Filed 10/28/21 Entered 10/28/21 12:18:32                                  Desc Main
                                                      Document      Page 30 of 53

Debtor 1    Edward J. Bucia, Jr.
Debtor 2    Christine M. Bucia                                                                    Case number (if known)    21-02599


                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse
      Copy line 4 here                                                                     4.         $      8,759.55       $             0.00

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $      2,448.45       $                0.00
      5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00       $                0.00
      5c.    Voluntary contributions for retirement plans                                  5c.        $          0.00       $                0.00
      5d.    Required repayments of retirement fund loans                                  5d.        $        181.87       $                0.00
      5e.    Insurance                                                                     5e.        $        882.83       $                0.00
      5f.    Domestic support obligations                                                  5f.        $          0.00       $                0.00
      5g.    Union dues                                                                    5g.        $          0.00       $                0.00
      5h.    Other deductions. Specify:                                                    5h.+       $          0.00 +     $                0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          3,513.15       $                0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          5,246.40       $                0.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00   $                0.00
      8b. Interest and dividends                                                           8b.        $              0.00   $                0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00   $              0.00
      8d. Unemployment compensation                                                        8d.        $              0.00   $              0.00
      8e. Social Security                                                                  8e.        $              0.00   $          1,717.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $                0.00
      8g. Pension or retirement income                                                     8g. $                     0.00   $                0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $           1,717.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              5,246.40 + $       1,717.00 = $           6,963.40
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.    $          6,963.40
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: DEBTORS DO NOT ANTICIPATE ANY CHANGES TO INCOME WITHIN THE NEXT YEAR. DEBTOR'S
                             401K LOAN REPAYMENT TO END ON 12/2021.




Official Form 106I                                                     Schedule I: Your Income                                                       page 2
           Case 21-02599-dd                  Doc 18         Filed 10/28/21 Entered 10/28/21 12:18:32                                  Desc Main
                                                           Document      Page 31 of 53


Fill in this information to identify your case:

Debtor 1                 Edward J. Bucia, Jr.                                                              Check if this is:
                                                                                                               An amended filing
Debtor 2                 Christine M. Bucia                                                                    A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF SOUTH CAROLINA                                                 MM / DD / YYYY

Case number           21-02599
(If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Daughter                             22                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             2,000.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                              0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             83.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
        Case 21-02599-dd                    Doc 18          Filed 10/28/21 Entered 10/28/21 12:18:32                                      Desc Main
                                                           Document      Page 32 of 53

Debtor 1     Edward J. Bucia, Jr.
Debtor 2     Christine M. Bucia                                                                        Case number (if known)      21-02599

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 300.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 150.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 455.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                725.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 65.00
10.   Personal care products and services                                                    10. $                                                  50.00
11.   Medical and dental expenses                                                            11. $                                                 120.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 400.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 120.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  332.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: AUTO PROPERTY TAXES                                                           16. $                                                  65.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       4,865.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       4,865.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               6,963.40
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              4,865.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              2,098.40

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here: DEBTORS DO NOT ANTICIPATE ANY CHANGES TO EXPENSES WITHIN THE NEXT YEAR.




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
               Case 21-02599-dd                     Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                        Desc Main
                                                                     Document      Page 33 of 53




 Fill in this information to identify your case:

 Debtor 1                    Edward J. Bucia, Jr.
                             First Name                     Middle Name             Last Name

 Debtor 2                    Christine M. Bucia
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number              21-02599
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Edward J. Bucia, Jr.                                                  X   /s/ Christine M. Bucia
              Edward J. Bucia, Jr.                                                      Christine M. Bucia
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date       October 28, 2021                                               Date    October 28, 2021




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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               Case 21-02599-dd                     Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                               Desc Main
                                                                     Document      Page 34 of 53



 Fill in this information to identify your case:

 Debtor 1                  Edward J. Bucia, Jr.
                           First Name                       Middle Name                  Last Name

 Debtor 2                  Christine M. Bucia
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number           21-02599
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                              Dates Debtor 2
                                                                lived there                                                                      lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                Wages, commissions,                               $0.00          Wages, commissions,                $76,814.52
 the date you filed for bankruptcy:                bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
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            Case 21-02599-dd                        Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                               Desc Main
                                                                     Document      Page 35 of 53
 Debtor 1      Edward J. Bucia, Jr.
 Debtor 2      Christine M. Bucia                                                                          Case number (if known)   21-02599

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For last calendar year:                             Wages, commissions,                               $0.00          Wages, commissions,              $77,477.00
 (January 1 to December 31, 2020 )                 bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business

 For the calendar year before that:                  Wages, commissions,                               $0.00          Wages, commissions,              $92,230.00
 (January 1 to December 31, 2019 )                 bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)
 From January 1 of current year until SOCIAL SECURITY                                           $18,422.00
 the date you filed for bankruptcy:

 For last calendar year:                           SOCIAL SECURITY                              $22,099.00
 (January 1 to December 31, 2020 )

 For the calendar year before that:                SOCIAL SECURITY                              $21,750.00
 (January 1 to December 31, 2019 )


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe


Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
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            Case 21-02599-dd                        Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                              Desc Main
                                                                     Document      Page 36 of 53
 Debtor 1      Edward J. Bucia, Jr.
 Debtor 2      Christine M. Bucia                                                                          Case number (if known)    21-02599

       Creditor's Name and Address                              Dates of payment             Total amount          Amount you        Was this payment for ...
                                                                                                     paid            still owe
       SC DEPARTMENT OF REVENUE                                 AUGUST 2021                     $1,150.00          $81,188.00          Mortgage
       PO BOX 12265                                             ($650)                                                                 Car
       Columbia, SC 29211                                       SEPTEMBER 2021                                                         Credit Card
                                                                ($500)                                                                 Loan Repayment
                                                                                                                                       Suppliers or vendors
                                                                                                                                       Other BACK TAX
                                                                                                                                     INSTALLMENT PAYMENT

       SOUTH STATE BANK                                         AUGUST 2021                     $2,000.00                 $0.00        Mortgage
       P.O BOX 118068                                                                                                                  Car
       Charleston, SC 29423
                                                                                                                                       Credit Card
                                                                                                                                       Loan Repayment
                                                                                                                                       Suppliers or vendors
                                                                                                                                       Other


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 3
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            Case 21-02599-dd                        Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                               Desc Main
                                                                     Document      Page 37 of 53
 Debtor 1      Edward J. Bucia, Jr.
 Debtor 2      Christine M. Bucia                                                                          Case number (if known)    21-02599

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was             Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                 Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                      Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                           lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment             Amount of
       Address                                                        transferred                                             or transfer was           payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Moss & Associates Attorneys, P.A.                              ATTORNEYS FEES: $8860.00                                SEPTEMBER                $1,099.00
       2170 Ashley Phosphate Road                                     FILING FEE: $31300                                      2021
        First Citizens Building, Ste 405
       North Charleston, SC 29406




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 4
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            Case 21-02599-dd                        Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                              Desc Main
                                                                     Document      Page 38 of 53
 Debtor 1      Edward J. Bucia, Jr.
 Debtor 2      Christine M. Bucia                                                                          Case number (if known)    21-02599

       Person Who Was Paid                                            Description and value of any property                   Date payment              Amount of
       Address                                                        transferred                                             or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       CC ADVISING, INC                                               CREDIT COUNSELING: $19.52                               OCTOBER                       $19.52
       730 WASHINGTON AVENUE                                                                                                  2021
       STE 230-D
       Bay City, MI 48708


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment              Amount of
       Address                                                        transferred                                             or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                  Describe any property or        Date transfer was
       Address                                                        property transferred                      payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                  Description and value of the property transferred                         Date Transfer was
                                                                                                                                                made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of            Type of account or          Date account was             Last balance
       Address (Number, Street, City, State and ZIP             account number              instrument                  closed, sold,            before closing or
       Code)                                                                                                            moved, or                         transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                  Who else had access to it?           Describe the contents                  Do you still
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City,                                              have it?
                                                                      State and ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 5
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            Case 21-02599-dd                        Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                                  Desc Main
                                                                     Document      Page 39 of 53
 Debtor 1      Edward J. Bucia, Jr.
 Debtor 2      Christine M. Bucia                                                                                Case number (if known)   21-02599

       Name of Financial Institution                                  Who else had access to it?                 Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City,                                                 have it?
                                                                      State and ZIP Code)

       SOUTH STATE BANK                                               Edward J. Bucia, Jr.                       NOTHING. DRILLED AND                   No
       P.O BOX 118068                                                 701 Bent Hickory Road                      CLOSED ON 7/13/2021                    Yes
       Charleston, SC 29423                                           Charleston, SC 29414

                                                                      Christine M. Bucia
                                                                      701 Bent Hickory Road
                                                                      Charleston, SC 29414


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                       Who else has or had access                 Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)             to it?                                                                         have it?
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)


 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                   Where is the property?                     Describe the property                           Value
       Address (Number, Street, City, State and ZIP Code)             (Number, Street, City, State and ZIP
                                                                      Code)

 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)


25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 6
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             Case 21-02599-dd                        Doc 18           Filed 10/28/21 Entered 10/28/21 12:18:32                             Desc Main
                                                                     Document      Page 40 of 53
 Debtor 1      Edward J. Bucia, Jr.
 Debtor 2      Christine M. Bucia                                                                          Case number (if known)    21-02599

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

             No
             Yes. Fill in the details.
        Case Title                                                    Court or agency                      Nature of the case                    Status of the
        Case Number                                                   Name                                                                       case
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)


 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                 A member of a limited liability company (LLC) or limited liability partnership (LLP)

                 A partner in a partnership

                 An officer, director, or managing executive of a corporation

                 An owner of at least 5% of the voting or equity securities of a corporation

             No. None of the above applies. Go to Part 12.

             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                           Describe the nature of the business              Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)              Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        SOUTH OF PHILLY PIZZERIA                                DEBTORS FORMERLY OWNED A                         EIN:         3559
        701 BENT HICKORY ROAD                                   BUSINESS IS A SOLE
        Charleston, SC 29414                                    PROPRIETORSHIP OPERATING                         From-To      MAY 2006 TO FEBURARY 15,
                                                                AS A RESTAURANT, SELLING                                      2019
                                                                PIZZA, PASTA AND
                                                                SANDWICHES. BUSINESS
                                                                CLOSED ON 2/15/2019. NO
                                                                ASSETSS, INVENTORY, OR
                                                                ACCOUNTS RECEIVEABLE.



28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                    Date Issued
        Address
        (Number, Street, City, State and ZIP Code)


 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Edward J. Bucia, Jr.                                                 /s/ Christine M. Bucia
 Edward J. Bucia, Jr.                                                     Christine M. Bucia
 Signature of Debtor 1                                                    Signature of Debtor 2

 Date      October 28, 2021                                               Date       October 28, 2021

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 7
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            Case 21-02599-dd                        Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                            Desc Main
                                                                     Document      Page 41 of 53
 Debtor 1      Edward J. Bucia, Jr.
 Debtor 2      Christine M. Bucia                                                                          Case number (if known)   21-02599


Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 8
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               Case 21-02599-dd                     Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                              Desc Main
                                                                     Document      Page 42 of 53

 Fill in this information to identify your case:                                                             Check as directed in lines 17 and 21:

 Debtor 1              Edward J. Bucia, Jr.                                                                    According to the calculations required by this
                                                                                                               Statement:
 Debtor 2              Christine M. Bucia                                                                            1. Disposable income is not determined under
 (Spouse, if filing)                                                                                                    11 U.S.C. § 1325(b)(3).
 United States Bankruptcy Court for the:            District of South Carolina                                       2. Disposable income is determined under 11
                                                                                                                        U.S.C. § 1325(b)(3).
 Case number           21-02599
 (if known)
                                                                                                                     3. The commitment period is 3 years.

                                                                                                                     4. The commitment period is 5 years.

                                                                                                                   Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                                04/20

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known).

 Part 1:           Calculate Your Average Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married. Fill out both Columns A and B, lines 2-11.


    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                 Column B
                                                                                                       Debtor 1                 Debtor 2 or
                                                                                                                                non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                           $                            8,769.85       $               0.00
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                            $              0.00      $               0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Do not include payments from a spouse. Do not include payments
     you listed on line 3.                                                             $                              0.00      $               0.00
  5. Net income from operating a business,
     profession, or farm                                Debtor 1
        Gross receipts (before all deductions)                            $      0.00
        Ordinary and necessary operating expenses                         -$     0.00
        Net monthly income from a business, profession, or farm $                0.00 Copy here -> $                  0.00      $               0.00
  6. Net income from rental and other real property                     Debtor 1
     Gross receipts (before all deductions)                               $      0.00
        Ordinary and necessary operating expenses                         -$     0.00
        Net monthly income from rental or other real property             $      0.00 Copy here -> $                  0.00      $               0.00




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                        page 1
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             Case 21-02599-dd                       Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                            Desc Main
                                                                     Document      Page 43 of 53
 Debtor 1     Edward J. Bucia, Jr.
 Debtor 2     Christine M. Bucia                                                                      Case number (if known)   21-02599

                                                                                                  Column A                     Column B
                                                                                                  Debtor 1                     Debtor 2 or
                                                                                                                               non-filing spouse
                                                                                                  $                  0.00      $            0.00
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                    $                  0.00      $           0.00
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                   0.00
            For your spouse                                            $             0.00
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act. Also, except as stated in the next sentence, do
     not include any compensation, pension, pay, annuity, or allowance paid by the
     United States Government in connection with a disability, combat-related injury or
     disability, or death of a member of the uniformed services. If you received any retired
     pay paid under chapter 61 of title 10, then include that pay only to the extent that it
     does not exceed the amount of retired pay to which you would otherwise be entitled
     if retired under any provision of title 10 other than chapter 61 of that title.         $                       0.00      $           0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments made
      under the Federal law relating to the national emergency declared by the President
      under the National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the
      coronavirus disease 2019 (COVID-19); payments received as a victim of a war
      crime, a crime against humanity, or international or domestic terrorism; or
      compensation, pension, pay, annuity, or allowance paid by the United States
      Government in connection with a disability, combat-related injury or disability, or
      death of a member of the uniformed services. If necessary, list other sources on a
      separate page and put the total below.
                                                                                                  $                  0.00      $           0.00
                                                                                                  $                  0.00      $           0.00
                  Total amounts from separate pages, if any.                                    + $                  0.00      $           0.00

  11. Calculate your total average monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.           $        8,769.85           +$             0.00    =$         8,769.85

                                                                                                                                                   Total average
                                                                                                                                                   monthly income
 Part 2:        Determine How to Measure Your Deductions from Income

  12. Copy your total average monthly income from line 11.                                                                                 $          8,769.85
  13. Calculate the marital adjustment. Check one:
              You are not married. Fill in 0 below.
              You are married and your spouse is filing with you. Fill in 0 below.
              You are married and your spouse is not filing with you.
              Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
              dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
              Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
              adjustments on a separate page.
              If this adjustment does not apply, enter 0 below.
                                                                                            $
                                                                                            $
                                                                                       +$

                     Total                                                              $                    0.00         Copy here=>          -               0.00


  14. Your current monthly income. Subtract line 13 from line 12.                                                                          $          8,769.85

  15. Calculate your current monthly income for the year. Follow these steps:
        15a. Copy line 14 here=>                                                                                                           $          8,769.85


Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                      page 2
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            Case 21-02599-dd                        Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                                  Desc Main
                                                                     Document      Page 44 of 53
 Debtor 1    Edward J. Bucia, Jr.
 Debtor 2    Christine M. Bucia                                                                             Case number (if known)   21-02599

                Multiply line 15a by 12 (the number of months in a year).                                                                            x 12

        15b. The result is your current monthly income for the year for this part of the form. ...........................................       $    105,238.20




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                       page 3
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              Case 21-02599-dd                      Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                       Desc Main
                                                                     Document      Page 45 of 53
 Debtor 1     Edward J. Bucia, Jr.
 Debtor 2     Christine M. Bucia                                                                 Case number (if known)   21-02599



  16. Calculate the median family income that applies to you. Follow these steps:
       16a. Fill in the state in which you live.                             SC

       16b. Fill in the number of people in your household.                   2
       16c. Fill in the median family income for your state and size of household.                                                        $     64,874.00
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk's office.
  17. How do the lines compare?
       17a.           Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                      11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).

       17b.           Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                      1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form, copy
                      your current monthly income from line 14 above.
 Part 3:       Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

 18. Copy your total average monthly income from line 11 .                                                                       $                   8,769.85
 19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you
     contend that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your
     spouse's income, copy the amount from line 13.
     19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                      -$                        0.00


       19b. Subtract line 19a from line 18.                                                                                           $          8,769.85


 20. Calculate your current monthly income for the year. Follow these steps:
       20a. Copy line 19b                                                                                                                 $      8,769.85

              Multiply by 12 (the number of months in a year).                                                                                x 12

       20b. The result is your current monthly income for the year for this part of the form                                              $    105,238.20




       20c. Copy the median family income for your state and size of household from line 16c                                              $     64,874.00


       21. How do the lines compare?

                   Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
                   period is 3 years. Go to Part 4.

                   Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                   commitment period is 5 years. Go to Part 4.

 Part 4:       Sign Below
       By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

    X /s/ Edward J. Bucia, Jr.                                                     X /s/ Christine M. Bucia
        Edward J. Bucia, Jr.                                                          Christine M. Bucia
        Signature of Debtor 1                                                         Signature of Debtor 2
       Date October 28, 2021                                                          Date October 28, 2021
            MM / DD / YYYY                                                                 MM / DD / YYYY
       If you checked 17a, do NOT fill out or file Form 122C-2.
       If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                page 4
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             Case 21-02599-dd                       Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                     Desc Main
                                                                     Document      Page 46 of 53


 Fill in this information to identify your case:

 Debtor 1            Edward J. Bucia, Jr.

 Debtor 2           Christine M. Bucia
 (Spouse, if filing)

 United States Bankruptcy Court for the:            District of South Carolina

 Case number         21-02599
 (if known)                                                                                                    Check if this is an amended filing

Official Form 122C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                         04/19

To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period (Official Form 122C-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any
additional pages, write your name and case number (if known).

 Part 1:       Calculate Your Deductions from Your Income

    The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to answer the
    the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for this form. This
    information may also be available at the bankruptcy clerk’s office.

    Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your actual
    expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5 and 6 of Form
    122C–1, and do not deduct any amounts that you subtracted from your spouse’s income in line 13 of Form 122C–1.

    If your expenses differ from month to month, enter the average expense.

    Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

    5.     The number of people used in determining your deductions from income

           Fill in the number of people who could be claimed as exemptions on your federal income tax return,
           plus the number of any additional dependents whom you support. This number may be different from                    2
           the number of people in your household.



    National Standards                   You must use the IRS National Standards to answer the questions in lines 6-7.



    6.     Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
           Standards, fill in the dollar amount for food, clothing, and other items.                                               $             1,292.00


    7.     Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
           the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
           people who are 65 or older--because older people have a higher IRS allowance for health car costs. If your actual expenses are
           higher than this IRS amount, you may deduct the additional amount on line 22.




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                        page 1
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              Case 21-02599-dd                      Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                                Desc Main
                                                                     Document      Page 47 of 53
 Debtor 1         Edward J. Bucia, Jr.
 Debtor 2         Christine M. Bucia                                                                   Case number (if known)      21-02599

    People who are under 65 years of age
            7a. Out-of-pocket health care allowance per person              $             68
            7b. Number of people who are under 65                           X         2
            7c. Subtotal. Multiply line 7a by line 7b.                      $       136.00              Copy here=>        $          136.00

    People who are 65 years of age or older

            7d. Out-of-pocket health care allowance per person              $          142
            7e. Number of people who are 65 or older                        X         0
            7f.     Subtotal. Multiply line 7d by line 7e.                  $         0.00              Copy here=>        $             0.00

            7g. Total. Add line 7c and line 7f                                                 $       136.00                   Copy total here=> $        136.00


    Local Standards           You must use the IRS Local Standards to answer the questions in lines 8-15.
    Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
    bankruptcy purposes into two parts:
         Housing and utilities - Insurance and operating expenses
         Housing and utilities - Mortgage or rent expenses
    To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link specified in the
    separate instructions for this form. This chart may also be available at the bankruptcy clerk's office.
    8. Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5, fill
        in the dollar amount listed for your county for insurance and operating expenses.                               $               603.00
    9.      Housing and utilities - Mortgage or rent expenses:
            9a. Using the number of people you entered in line 5, fill in the dollar amount
                listed for your county for mortgage or rent expenses.                                                      $        1,426.00

            9b. Total average monthly payment for all mortgages and other debts secured by your home.
                    To calculate the total average monthly payment, add all amounts that are
                    contractually due to each secured creditor in the 60 months after you file
                    for bankruptcy. Next divide by 60.

                    Name of the creditor                                        Average monthly
                                                                                payment

                    FERRARO FOODS                                               $              71.02
                    FIRST FEDERAL                                               $              46.92
                    MT ROYAL & HARRINGTON PLACE HOA                             $              83.00
                    SC DEPARTMENT OF REVENUE                                    $          482.13

                                                                                                        Copy                                      Repeat this amount
                                     9b. Total average monthly payment          $          683.07       here=>        -$               683.07 on line 33a.

            9c. Net mortgage or rent expense.

                    Subtract line 9b (total average monthly payment) from line 9a (mortgage                                              Copy
                    or rent expense). If this number is less than $0, enter $0.                            $               742.93        here=>    $          742.93


    10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and
        affects the calculation of your monthly expenses, fill in any additional amount you claim.                                                $               0.00

             Explain why:




Official Form 122C-2                                         Chapter 13 Calculation of Your Disposable Income                                                  page 2
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              Case 21-02599-dd                      Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                                          Desc Main
                                                                     Document      Page 48 of 53
 Debtor 1     Edward J. Bucia, Jr.
 Debtor 2     Christine M. Bucia                                                                                 Case number (if known)   21-02599

    11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

               0. Go to line 14.

               1. Go to line 12.

               2 or more. Go to line 12.
    12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
        operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                  $             448.00
    13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
        You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
        more than two vehicles.
     Vehicle 1         Describe Vehicle 1: 2005 FORD MUSTANG: VIN# (1ZVHT82AA45SZ05677), (2)
                                                  DOOR, (8) CYLINDER, (183,000) MILES, NADA VALUE
                                                  ($4,550)
    13a. Ownership or leasing costs using IRS Local Standard..................................................         $             533.00
    13b. Average monthly payment for all debts secured by Vehicle 1.
            Do not include costs for leased vehicles.

            To calculate the average monthly payment here and on line 13e, add all amounts that
            are contractually due to each secured creditor in the 60 months after you file for
            bankruptcy. Then divide by 60.

                 Name of each creditor for Vehicle 1                               Average monthly
                                                                                   payment
                 TITLEMAX                                                          $               46.38

                                                                                                                                                      Repeat this
                                                                                                                  Copy                                amount on
                                         Total Average Monthly Payment             $               46.38          here =>       -$            46.38   line 33b.


    13c. Net Vehicle 1 ownership or lease expense                                                                                                Copy net
                                                                                                                                                 Vehicle 1
            Subtract line 13b from line 13a. if this number is less than $0, enter $0. .....................                                     expense here
                                                                                                                       $             486.62      =>              $         486.62

     Vehicle 2         Describe Vehicle 2: 2005 FORD MUSTANG: VIN# (1ZVHT82AA45SZ05677), (2)
                                                  DOOR, (8) CYLINDER, (183,000) MILES, NADA VALUE ($)
    13d. Ownership or leasing costs using IRS Local Standard..................................................         $               0.00
    13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
         leased vehicles.

                 Name of each creditor for Vehicle 2                               Average monthly
                                                                                   payment

                 -NONE-                                                            $

                                                                                                                  Copy                            Repeat this
                                                                                                                  here                            amount on line
                                         Total average monthly payment             $                 0.00                                 0.00    33c.
                                                                                                                  =>       -$

    13f. Net Vehicle 2 ownership or lease expense                                                                                                Copy net
                                                                                                                                                 Vehicle 2
            Subtract line 13e from line 13d. if this number is less than $0, enter $0. .......................                                   expense here
                                                                                                                       $               0.00      =>              $             0.00

    14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
        Public Transportation expense allowance regardless of whether you use public transportation.                                                         $                 0.00
    15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
        also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
        not claim more than the IRS Local Standard for Public Transportation.                                                                                $                 0.00




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                                                page 3
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              Case 21-02599-dd                      Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                            Desc Main
                                                                     Document      Page 49 of 53
 Debtor 1     Edward J. Bucia, Jr.
 Debtor 2     Christine M. Bucia                                                                      Case number (if known)   21-02599

    Other Necessary Expenses                In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                            the following IRS categories.
    16. Taxes: The total monthly amount that you will actually pay for federal, state and local taxes, such as income taxes,
        self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
        your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
        and subtract that number from the total monthly amount that is withheld to pay for taxes.
        Do not include real estate, sales, or use taxes.                                                                                    $       2,488.74
    17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
        contributions, union dues, and uniform costs.
        Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.                $             0.00
    18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are
        filing together, include payments that you make for your spouse's term life insurance.
        Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any form
        of life insurance other than term.                                                                                                  $             0.00
    19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
        administrative agency, such as spousal or child support payments.
        Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.           $             0.00
    20. Education: The total monthly amount that you pay for education that is either required:
               as a condition for your job, or
               for your physically or mentally challenged dependent child if no public education is available for similar services.         $             0.00
    21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
        Do not include payments for any elementary or secondary school education.                                                           $             0.00
    22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care
        that is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid
        by a health savings account. Include only the amount that is more than the total entered in line 7.
        Payments for health insurance or health savings accounts should be listed only in line 25.                                          $             0.00
    23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication services
        for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
        phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
        income, if it is not reimbursed by your employer.
        Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
        expenses, such as those reported on line 5 of Official Form 122C-1, or any amount you previously deducted.                         +$         100.00

    24. Add all of the expenses allowed under the IRS expense allowances.                                                                  $     6,297.29
        Add lines 6 through 23.
    Additional Expense Deductions                 These are additional deductions allowed by the Means Test.
                                                  Note: Do not include any expense allowances listed in lines 6-24.

    25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
        insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
        your dependents.
            Health insurance                                               $       453.99
            Disability insurance                                           $          0.00
            Health savings account                                       +$        229.15

            Total                                                              $     683.14       Copy total here=>                        $          683.14


            Do you actually spend this total amount?
                   No. How much do you actually spend?
                    Yes                                                        $
    26. Continued contributions to the care of household or family members. The actual monthly expenses that you will
        continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
        your household or member of your immediate family who is unable to pay for such expenses. These expenses may
        include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b)                                                $             0.00
    27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
        safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
            By law, the court must keep the nature of these expenses confidential.                                                          $             0.00


Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                           page 4
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              Case 21-02599-dd                      Doc 18             Filed 10/28/21 Entered 10/28/21 12:18:32                                    Desc Main
                                                                      Document      Page 50 of 53
 Debtor 1     Edward J. Bucia, Jr.
 Debtor 2     Christine M. Bucia                                                                               Case number (if known)   21-02599

    28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on
        line 8.
            If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
            8, then fill in the excess amount of home energy costs
            You must give your case trustee documentation of your actual expenses, and you must show that the additional
            amount claimed is reasonable and necessary.                                                                                                 $                 0.00
    29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
        $170.83* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
        public elementary or secondary school.
            You must give your case trustee documentation of your actual expenses, and you must explain why the amount
            claimed is reasonable and necessary and not already accounted for in lines 6-23.
            * Subject to adjustment on 4/01/22, and every 3 years after that for cases begun on or after the date of adjustment.                        $                 0.00
    30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
        higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
        than 5% of the food and clothing allowances in the IRS National Standards.
            To find a chart showing the maximum additional allowance, go online using the link specified in the separate
            instructions for this form. This chart may also be available at the bankruptcy clerk's office.
            You must show that the additional amount claimed is reasonable and necessary.                                                               $                 0.00
    31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
        instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).
            Do not include any amount more than 15% of your gross monthly income.                                                                       $                 0.00

    32. Add all of the additional expense deductions.                                                                                                   $          683.14
        Add lines 25 through 31.

    Deductions for Debt Payment
    33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
        loans, and other secured debt, fill in lines 33a through 33e.
          To calculate the total average monthly payment, add all amounts that are contractually due to each secured
          creditor in the 60 months after you file for bankruptcy. Then divide by 60.
              Mortgages on your home                                                                                                                Average monthly
                                                                                                                                                    payment
    33a.      Copy line 9b here                                                                                                               =>    $             683.07
              Loans on your first two vehicles
    33b.      Copy line 13b here                                                                                                              =>    $              46.38
    33c.      Copy line 13e here                                                                                                              =>    $                0.00
    33d.      List other secured debts:
    Name of each creditor for other secured debt                     Identify property that secures the debt                     Does payment
                                                                                                                                 include taxes
                                                                                                                                 or insurance?
                                                                                                                                        No
             -NONE-                                                                                                                     Yes        $

                                                                                                                                        No
                                                                                                                                        Yes        $

                                                                                                                                        No
                                                                                                                                        Yes   +    $


                                                                                                                                              Copy
                                                                                                                                              total
    33e      Total average monthly payment. Add lines 33a through 33d                                              $              729.45      here=>        $      729.45




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                                           page 5
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              Case 21-02599-dd                              Doc 18             Filed 10/28/21 Entered 10/28/21 12:18:32                                        Desc Main
                                                                              Document      Page 51 of 53
 Debtor 1      Edward J. Bucia, Jr.
 Debtor 2      Christine M. Bucia                                                                                       Case number (if known)     21-02599

    34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
        or other property necessary for your support or the support of your dependents?
               No.      Go to line 35.
               Yes. State any amount that you must pay to a creditor, in addition to the payments
                    listed in line 33, to keep possession of your property (called the cure amount).
                    Next, divide by 60 and fill in the information below.
     Name of the creditor                                         Identify property that secures the debt                    Total cure amount                  Monthly cure
                                                                                                                                                                amount
                                                                  DEBTORS RESIDENCE-701 BENT
                                                                  HICKORY ROAD, CHARLESTON SC
                                                                  29414, CHARLESTON COUNTY, (4)
                                                                  BEDROOM HOUSE, TMS#
                                                                  (3050300123), TAX APPRAISAL
                                                                  VALUE ($345,600), SEE ATTACHED
                                                                  TAX APPRAISAL

     MT ROYAL & HARRINGTON                                        DEBTORS ESTIMATE VALUE AT
     PLACE HOA                                                    ($345,600)                                             $                  990.00 ÷ 60 = $                       16.50
                                                                                                                         $                            ÷ 60 = $
                                                                                                                         $                            ÷ 60 = +$
                                                                                                                                                           Copy
                                                                                                                                                           total
                                                                                                                 Total $                      16.50        here=>          $           16.50

    35. Do you owe any priority claims - such as a priority tax, child support, or alimony - that
        are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

               No.      Go to line 36.
               Yes. Fill in the total amount of all of these priority claims. Do not include current or
                    ongoing priority claims, such as those you listed in line 19.
                          Total amount of all past-due priority claims                                                       $           50,646.23          ÷ 60       $             844.10
    36. Projected monthly Chapter 13 plan payment                                                                            $             2,000.00
        Current multiplier for your district as stated on the list issued by the Administrative
        Office of the United States Courts (for districts in Alabama and North Carolina) or by
        the Executive Office for United States Trustees (for all other districts).                                           X           10.00
        To find a list of district multipliers that includes your district, go online using the link specified in the
        separate instructions for this form. This list may also be available at the bankruptcy clerk's office.
                                                                                                                                                         Copy total
        Average monthly administrative expense                                                                                   $        200.00         here=> $                    200.00


    37. Add all of the deductions for debt payment.                                                                                                                    $        1,790.05
        Add lines 33e through 36.

    Total Deductions from Income
    38. Add all of the allowed deductions.
            Copy line 24, All of the expenses allowed under IRS
            expense allowances                                                                      $        6,297.29
            Copy line 32, All of the additional expense deductions                                  $           683.14
            Copy line 37, All of the deductions for debt payment                                   +$        1,790.05


            Total deductions....................................................................    $        8,770.48                Copy total here=>             $               8,770.48




Official Form 122C-2                                                  Chapter 13 Calculation of Your Disposable Income                                                                page 6
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            Case 21-02599-dd                        Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                              Desc Main
                                                                     Document      Page 52 of 53
 Debtor 1    Edward J. Bucia, Jr.
 Debtor 2    Christine M. Bucia                                                                        Case number (if known)    21-02599


 Part 2:       Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

    39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
        Statement of Your Current Monthly Income and Calculation of Commitment Period.                                              $                  8,769.85
    40. Fill in any reasonably necessary income you receive for support for dependent
        children. The monthly average of any child support payments, foster care payments, or
        disability payments for a dependent child, reported in Part I of Form 122C-1, that you
        received in accordance with applicable nonbankruptcy law to the extent reasonably
        necessary to be expended for such child.                                                               $                 0.00
    41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
        employer withheld from wages as contributions for qualified retirement plans, as specified
        in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as
        specified in 11 U.S.C. § 362(b)(19).                                                                   $                 0.00
    42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here                =>    $            8,770.48
    43. Deduction for special circumstances. If special circumstances justify additional
        expenses and you have no reasonable alternative, describe the special circumstances and
        their expenses. You must give your case trustee a detailed explanation of the special
        circumstances and documentation for the expenses.

    Describe the special circumstances                                                    Amount of expense

                                                                                      $

                                                                                      $

                                                                                      $

                                                                                                              Copy
                                                                            Total $               0.00        here=> $                  0.00


                                                                                                                                   Copy
    44. Total adjustments. Add lines 40 through 43.                                               =>      $          8,770.48      here=> -$           8,770.48


    45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                     $               -0.63


 Part 3:       Change in Income or Expenses

    46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form
        have changed or are virtually certain to change after the date you filed your bankruptcy petition and during the
        time your case will be open, fill in the information below. For example, if the wages reported increased after
        you filed your petition, check 122C-1 in the first column, enter line 2 in the second column, explain why the
        wages increased, fill in when the increase occurred, and fill in the amount of the increase.

    Form             Line           Reason for change                                      Date of change          Increase or      Amount of change
                                                                                                                   decrease?
       122C-1                                                                                                         Increase
       122C-2                                                                                                         Decrease      $
       122C-1                                                                                                         Increase
       122C-2                                                                                                         Decrease      $
       122C-1                                                                                                         Increase
       122C-2                                                                                                         Decrease      $
       122C-1                                                                                                         Increase
       122C-2                                                                                                         Decrease      $




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                             page 7
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              Case 21-02599-dd                      Doc 18            Filed 10/28/21 Entered 10/28/21 12:18:32                          Desc Main
                                                                     Document      Page 53 of 53
 Debtor 1     Edward J. Bucia, Jr.
 Debtor 2     Christine M. Bucia                                                                    Case number (if known)   21-02599




 Part 4:        Sign Below



            By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.


       X /s/ Edward J. Bucia, Jr.                                                     X /s/ Christine M. Bucia
             Edward J. Bucia, Jr.                                                        Christine M. Bucia
             Signature of Debtor 1                                                       Signature of Debtor 2
    Date October 28, 2021                                                          Date October 28, 2021
         MM / DD / YYYY                                                                 MM / DD / YYYY




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                           page 8
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